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                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF OHIO
                         WESTERN DIVISION AT DAYTON

KIMBERLY R. MURPHY,                        : Case No. 3:19-cv-359
                                           :
       Plaintiff,                          : Magistrate Judge Sharon L. Ovington
                                           : (by full consent of the parties)
vs.                                        :
                                           :
COMMISSIONER OF THE SOCIAL                 :
SECURITY ADMINISTRATION,                   :
                                           :
       Defendant.                          :


                               DECISION AND ENTRY


      This case is before the Court on the parties’ Joint Motion for an Award of

Attorney's Fees Pursuant to the Equal Access to Justice Act (EAJA), 28 U.S.C. § 2412.

(Doc. No. 18). Specifically, the parties stipulate to an award to Plaintiff of attorney fees

in the amount of $3,300.00, and $0.00 in costs, in full satisfaction and settlement of any

and all claims Plaintiff may have under the EAJA in the above case. The award of

attorney fees will satisfy all of Plaintiff’s claims for fees, costs, and expenses under 28

U.S.C. § 2412 in this case. Any fees paid belong to Plaintiff, and not her attorney, and

can be offset to satisfy pre-existing debt that Plaintiff owes the United States under

Astrue v. Ratliff, 560 U.S. 586 (2010). Plaintiff and Defendant move that the Court

award Plaintiff EAJA fees of $3,300.00, and costs of $0.00, for a total award of

$3,300.00.

       After the Court enters this award, if counsel for the parties can verify that Plaintiff
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owes no pre-existing debt subject to offset, Defendant agrees to direct that the award be

made payable to Plaintiff’s attorney pursuant to the EAJA assignment duly signed by

Plaintiff.

                      IT IS THEREFORE ORDERED THAT:

      1.     The Parties’ Joint Motion for an Award of Attorney's Fees
             Pursuant to the Equal Access to Justice Act (Doc. No. 18) is
             accepted and Defendant shall pay Plaintiff’s attorney fees in
             the amount of $3,300.00, and $0.00 in costs, for a total award
             of $3,300.00;

      2.     Counsel for the parties shall verify, within thirty days of this
             Decision and Entry, whether or not Plaintiff owes a pre-
             existing debt to the United States subject to offset. If no such
             pre-existing debt exists, Defendant shall pay the EAJA award
             directly to Plaintiff’s counsel pursuant to the EAJA assignment
             signed by Plaintiff; and

      3.     The case remains terminated on the docket of this Court.

      IT IS SO ORDERED.

Date: November 30, 2021                         s/Sharon L. Ovington
                                                Sharon L. Ovington
                                                United States Magistrate Judge




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